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     ALACER CORPORATION
11
12                         UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14
     NICHOLAS J. GIANINO, ARNOLD LEE,               CASE NO.: SACV09-01247 CJC
15   and LORI RISMAN, individually and on           (RNBx)
     behalf of all others similarly situated,
16                                                  Honorable Cormac J. Carney
                 Plaintiffs,
17                                                  NOTICE OF ERRATA RE DOCKET
      v.                                            NO. 96
18
     ALACER CORPORATION and DOES 1                  Judge:   Hon. Cormac J. Carney
19   through 15,                                    Date:    February 13, 2012
                                                    Time:    1:30 p.m.
20               Defendants.                        Place:   Courtroom 9B
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                                NOTICE OF ERRATA RE DOCKET NO. 96
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 1   TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE THAT during the upload of Docket No. 96,
 3   Attachment #5 failed to upload correctly through ECF.           Accordingly, defendant
 4   Alacer Corp. is refiling the correct Attachment #5 (Fugate Ex. 15-19) herewith.
 5                                   Respectfully Submitted,
 6   Dated: January 10, 2012        ALSTON & BIRD LLP
 7
                                    By:   /s/_Andrew E. Paris____________
 8                                             Andrew E. Paris
                                    Attorneys for Defendant
 9                                  ALACER CORPORATION
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                                 NOTICE OF ERRATA RE DOCKET NO. 96
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                                      CERTIFICATE OF SERVICE
 1
 2          I HEREBY CERTIFY that all counsel of record who are deemed to have consented to
 3   electronic service are being served with a copy of this document via the Court’s CM/ECF system
 4   this 10th day of January 2012.
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 6                                                        /s/ Andrew E. Paris
                                                         Andrew E. Paris
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                                      NOTICE OF ERRATA RE DOCKET NO. 96
